               Case 4:20-cv-05883-JSW Document 86 Filed 09/23/20 Page 1 of 5




 1 JEFFREY BOSSERT CLARK
   Acting Assistant Attorney General
 2 BRIGHAM J. BOWEN
   Assistant Branch Director
 3 JULIE STRAUS HARRIS (DC Bar No. 1021928)
   Senior Trial Counsel
 4 BRADLEY CRAIGMYLE (IL Bar No. 6326760)
   CHARLES E.T. ROBERTS (PA Bar No. 326539)
 5 Trial Attorneys
   United States Department of Justice
 6 Civil Division, Federal Programs Branch
   1100 L Street NW
 7 Washington, DC 20530
   Phone: (202) 353-7633
 8 Fax: (202) 616-8470
   Email: julie.strausharris@usdoj.gov
 9
   Attorneys for Defendants
10

11                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                      OAKLAND DIVISION
13

14    IMMIGRANT LEGAL RESOURCE
      CENTER, et al.,                                         Case No. 4:20-cv-5883-JSW
15

16                         Plaintiffs,                        DEFENDANTS’ SUPPLEMENTAL
                                                              BRIEF REGARDING NOTICE OF
17            v.                                              RATIFICATION, ECF NO. 80
18
      CHAD F. WOLF, et al.,                                   Judge:   Honorable Jeffrey S. White
19
                                                              Hearing: September 25, 2020 at 9:00 a.m.
20                         Defendants.
21

22

23

24

25

26

27

28

     Immigrant Legal Resource Center et al. v. Chad F. Wolf et al., No. 4:20-cv-5883-JSW
     Defs.’ Supplemental Brief Regarding Notice of Ratification, ECF No. 80
               Case 4:20-cv-05883-JSW Document 86 Filed 09/23/20 Page 2 of 5




 1           On September 18, 2020, Defendants notified the Court that Acting Secretary of Homeland Security

 2 Chad Wolf had ratified the challenged Proposed Rule and Final Rule. See Defs.’ Notice of Ratification & Legal

 3 Authority (Defs.’ Not.), ECF No. 80. An agency head’s “valid appointment, coupled with … ratification, cures

 4 any initial” service-related deficiencies in a challenged action. See CFPB v. Gordon, 819 F.3d 1179, 1190-92 (9th

 5 Cir. 2016); see also Defs.’ Not. The Court need not reach this issue–Mr. McAleenan and Mr. Wolf both lawfully

 6 served under the Homeland Security Act (HSA) when they took the challenged actions (see Defs.’ Opp’n to

 7 Mot. for Prelim. Inj. 3-5, ECF No. 49; Defs.’ Resp. to the Briefs of Amici Curiae (Defs.’ Resp. to Amici) 2-13,

 8 ECF No. 75). But the ratification provides an alternate basis for rejecting Plaintiffs’ service-related claims.
 9 I.        Under Plaintiffs’ Own Theory, Mr. Wolf Became Acting Secretary on September 10, 2020.
10           On September 10, 2020, the President submitted Mr. Wolf’s nomination to serve as Secretary of

11 Homeland Security to the Senate. The Federal Vacancies Reform Act (FVRA) imposes an initial 210-day limit

12 on acting service under the FVRA, but “once a first … nomination for the office is submitted to the Senate,”

13 an acting official may serve “for the period that the nomination is pending.” Id. § 3346(a)(1)-(2). Under

14 Plaintiffs’ theory, because Ms. Nielsen never set an order of succession under 6 U.S.C. § 113(g)(2) applicable

15 on a Secretary’s resignation, under the FVRA, see 5 U.S.C. § 3345(a)(2)-(4), Executive Order (EO) 13753

16 governed which official would serve as Acting Secretary. See Pls.’ Mot. for Prelim. Inj. 5 (Mot.), ECF No. 27. 1

17           Thus, under Plaintiffs’ own theory, when Mr. Wolf’s nomination was submitted to the Senate, Peter

18 T. Gaynor, the Senate-confirmed Administrator of the Federal Emergency Management Agency, became the
19 President’s designated Acting Secretary under the FVRA as the senior-most successor under EO 13753. On

20 September 10, 2020, “out of an abundance of caution,” Mr. Gaynor exercised “any authority” he might

21 possess as Acting Secretary and designated an order of succession for the office under § 113(g)(2), which

22 applies “[n]otwithstanding” the FVRA. See ECF No. 75-2 at 2. Under this order of succession, Mr. Wolf, as

23 the Under Secretary for Strategy, Policy, and Plans, was the senior-most successor and immediately began

24 serving as Acting Secretary under the HSA on September 10, 2020. These events are consistent with Plaintiffs’

25 claim that the FVRA applies when there is no governing HSA order of succession. See Mot. 5; Pls.’ Reply in

26

27   EO 13753, in turn, sets the President’s order of succession under the FVRA. See 5 U.S.C. § 3345(a)(2)-(3)
     1

   (allowing the President to designate an acting official); see also Executive Order 13753, Amending the Order of
28 Succession in the Department of Homeland Security, 81 Fed. Reg. 90667 (Dec. 9, 2016).
     Immigrant Legal Resource Center et al. v. Chad F. Wolf et al., No. 4:20-cv-5883-JSW
     Defs.’ Supplemental Brief Regarding Notice of Ratification (ECF No. 80)                                 Page 1
               Case 4:20-cv-05883-JSW Document 86 Filed 09/23/20 Page 3 of 5




 1 Supp. of Mot. 2, ECF No. 74. Plaintiffs’ doubts about Mr. Wolf’s earlier service are now gone: Mr. Gaynor’s

 2 order permits Mr. Wolf’s lawful service as Acting Secretary under Plaintiffs’ own theory of succession.

 3 II.       Acting Secretary Wolf Ratified the Proposed Rule and Final Rule on September 17, 2020.

 4           As Acting Secretary under the HSA, based on Plaintiffs’ theory, Mr. Wolf then ratified the Final Rule

 5 and the Proposed Rule that Mr. McAleenan issued. See ECF No. 80-1 at 4-6. 2 Though Mr. McAleenan and

 6 Mr. Wolf were lawfully serving under the HSA when they took the challenged actions, the ratification cures

 7 any alleged service-related defects in the challenged actions. The Ninth Circuit, “agree[ing] with the D.C.

 8 Circuit’s approach,” has held that a “subsequent valid appointment, coupled with … ratification, cures any
 9 initial” service-related defects in the challenged action. Gordon, 819 F.3d at 1191; see also Guedes v. ATF, 920

10 F.3d 1, 13 (D.C. Cir. 2019) (D.C. Circuit has “repeatedly held” that a “properly appointed official’s ratification

11 of an allegedly improper official’s prior action … resolves the claim on the merits by ‘remedy[ing] [the] defect’

12 (if any) from the initial appointment” (alterations in original and citations omitted)). The “ratification purges

13 any residual taint or prejudice … from the allegedly invalid appointment” based on an FVRA violation. Guedes,

14 920 F.3d at 13. Mr. Wolf’s ratification thus cures any alleged defect as of the dates of those original actions.

15           Plaintiffs argue that Mr. McAleenan’s issuance and Mr. Wolf’s approval of the Rule “have no force or

16 effect” under the FVRA, 5 U.S.C. § 3348(d)(1). See Reply 4. So Plaintiffs might argue that these actions “may

17 not be ratified.” 5 U.S.C. § 3348(d)(2). 3 That would be incorrect.

18           Section 3348(d) of the FVRA bars ratification of an action taken by an invalidly serving official only

19   2
       Plaintiffs suggest Mr. Gaynor’s designation of a new order of succession is an impermissible “post-hoc”
20   rationalization that fails to cure Defendants’ alleged APA violations. See Pls.’ Suppl. Br. 1-2 (citing Am. Textile
     Mfrs. Inst., Inc. v. Donovan, 452 U.S. 490, 539 (1981)), ECF No. 81. That is incorrect. Mr. Gaynor’s order,
21   standing alone, has no bearing on whether Mr. Wolf was lawfully serving when he approved the Final Rule.
     See Defs.’ Resp. to Amici 2-3 n.2. If Plaintiffs argue that Mr. Wolf’s ratification is also an impermissible “post-
22   hoc” rationalization, that argument would fail. The ratification cures any defect in the rule related to Mr.
     Wolf’s service; it does not relate to the agency’s “reasons for its actions” under the APA. Am. Textile, 452 U.S.
23   at 539. Neither Mr. Gaynor’s order nor Acting Secretary Wolf’s ratification supplies new reasons for the
24   agency’s rulemaking and relates solely to any service-related defects. Courts have “repeatedly held” that such
     ratifications are an acceptable method for validating prior agency action. Guedes v. ATF, 920 F.3d 1, 13 (D.C.
25   Cir. 2019); see also Gordon, 819 F.3d at 1191.
     3
       Alternatively, the FVRA’s ratification bar may not apply at all to acting officials who serve under office-
26   specific vacancy statutes–critically, those who serve under such statutes do not serve under the FVRA. See Casa
27   de Md., Inc. v. Wolf, No. 8:20-CV-02118-PX, 2020 WL 5500165, at *17 (D. Md. Sept. 11, 2020) (“[N]owhere
     does this enforcement provision [§ 3348(d)] specify that it applies to those acting officials who serve pursuant
28   to an exception to the FVRA–one of the agency-specific succession statutes.”).
     Immigrant Legal Resource Center et al. v. Chad F. Wolf et al., No. 4:20-cv-5883-JSW
     Defs.’ Supplemental Brief Regarding Notice of Ratification (ECF No. 80)                                   Page 2
               Case 4:20-cv-05883-JSW Document 86 Filed 09/23/20 Page 4 of 5




 1 when the official is “perform[ing] … a[] function or duty of a vacant office.” But the FVRA narrowly defines

 2 “function or duty” in § 3348 as “any function or duty” of the office that is “established” by statute or

 3 regulation and “required” by such provision “to be performed by the applicable officer (and only that officer).”

 4 Id. § 3348(a)(2). It thus bars ratification of a limited class of actions that are, by statute or regulation, exclusive

 5 to the vacant office and not delegable. See Guedes, 920 F.3d at 12 (citing § 3348(d) as “only prohibiting the

 6 ratification of nondelegable duties”); see also Schaghticoke Tribal Nation v. Norton, No. 3:06CV81 PCD, 2007 WL

 7 867987, at *12 (D. Conn. Mar. 19, 2007) (“Congress limited the ‘functions and duties’ that must be performed

 8 by the agency head to those that are required by statute or regulation to be performed exclusively by the
 9 official occupying that position.” (citing 5 U.S.C. § 3348(a)(2))); Defs.’ Resp. to Amici 13-14, ECF No.75.

10           Neither issuing the Proposed Rule nor approving the Final Rule was an action “in the performance

11 of any function or duty” of the office of the Secretary because there is no statute or regulation limiting

12 authority for those actions to the Secretary only. Rather, the relevant rulemaking authority can be exercised

13 by other officials, and in fact the authority to issue and approve rules regarding immigration and naturalization

14 benefits fees, fee waiver and exemption policies, forms, and fee structures is not only delegable, see 6 U.S.C.

15 § 112(b)(1), but in fact has been delegated to the Deputy Secretary since 2003. See ECF No. 75-2 at 123, § II.G. 4

16 “[F]unction or duty” applies only to non-delegable functions made exclusive to a particular office by statute or

17 regulation. See Guedes, 920 F.3d at 12; United States v. Harris Cnty., No. 4:16-CV-2331, 2017 WL 7692396, at *3

18 n.5 (S.D. Tex. Apr. 26, 2017) (authorization of complaint by Principal Deputy Assistant Attorney General was
19 not “function or duty” under FVRA because “the relevant duties of the [office] are delegable”). If a function

20 or duty is lawfully delegable, then the statute or regulation creating that function or duty does not “require” it

21 to be performed only by the vacant office. 5 The FVRA’s ratification bar therefore does not apply here.

22           For all of these reasons, Acting Secretary Wolf’s September 17, 2020 ratification provides an alternate

23 ground for rejecting Plaintiffs’ service-based arguments.

24   4
       Defendants’ argument is therefore consistent with L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1 (D.D.C. 2020),
25   which held that a “function or duty” covers only functions that both are assigned by statute or regulation to a
     particular office and have not been reassigned by “the department head … using his vesting-and-delegation
26   authority or any other authority at least 180 days before the vacancy occurred.” Id. at 34. The authority here
     was delegated long ago to at least the Deputy Secretary, removing it from the scope of L.M.-M.’s holding.
27   5
       Congress knows how to specify when certain authorities are to be exercised only by the Secretary of
28   Homeland Security and are not to be further delegated. See, e.g., 31 U.S.C. § 1344(d)(3).
     Immigrant Legal Resource Center et al. v. Chad F. Wolf et al., No. 4:20-cv-5883-JSW
     Defs.’ Supplemental Brief Regarding Notice of Ratification (ECF No. 80)                                     Page 3
               Case 4:20-cv-05883-JSW Document 86 Filed 09/23/20 Page 5 of 5




 1 Dated: September 23, 2020                                   Respectfully submitted,

 2                                                             JEFFREY BOSSERT CLARK
                                                               Acting Assistant Attorney General
 3

 4                                                             BRIGHAM J. BOWEN
                                                               Assistant Branch Director
 5                                                             Federal Programs Branch

 6                                                              /s/ Julie Straus Harris
                                                               JULIE STRAUS HARRIS
 7                                                             DC Bar No. 1021298
 8                                                             Senior Trial Counsel
                                                               BRADLEY CRAIGMYLE (IL Bar No. 6326760)
 9                                                             CHARLES E. T. ROBERTS (PA Bar No. 326539)
                                                               Trial Attorneys
10                                                             U.S. Department of Justice
                                                               Civil Division, Federal Programs Branch
11                                                             1100 L Street NW
                                                               Washington, DC 20530
12                                                             Tel: (202) 353-7633
                                                               Fax: (202) 616-8470
13
                                                               Email: julie.strausharris@usdoj.gov
14
                                                               Attorneys for Defendants
15

16
                                             CERTIFICATE OF SERVICE
17           I hereby certify that on the 23rd day of September, 2020, I electronically transmitted the foregoing
18 document to the Clerk of Court using the ECF System for filing.
19
                                                                       /s/ Julie Straus Harris
20                                                                   JULIE STRAUS HARRIS

21

22

23

24

25

26

27

28
     Immigrant Legal Resource Center et al. v. Chad F. Wolf et al., No. 4:20-cv-5883-JSW
     Defs.’ Supplemental Brief Regarding Notice of Ratification (ECF No. 80)                               Page 4
